Case 1:10-cr-00317-REB Document 735-18 Filed 01/17/14 USDC Colorado Page 1of4

NOTICE OF AND RESCISSION OF NOTICE TO THE COURT THAT MAGISTRATE
JUDGE KATHLEEN M. TAFOYA REFUSED TO RECOGNIZE, AS A DEFENDANT
THE EXTRAORDINARY LAWSUIT NO. GB 110106-70091410000134484684 ON
MARCH 2, 2011 FOR CAUSE
NOTICE DATE: Day Fourteen Month One Year 2014 C.E.

Clerk of the Court

United States District Court
901 19th Street, Room A-105
Denver, Colorado 80294-3589

In reply to: "Case 1:10-cr-00317-REB Document 161 Filed 03/10/11 USDC Colorado Page 1 of
3 March 7, 2011 10-cr-00317-REB NOTICE TO THE COURT THAT MAGISTRATE JUDGE KATHLEEN M.
TAFOYA REFUSED TO RECOGNIZE, AS A DEFENDANT, THE EXTRAORDINARY LAWSUIT NO. GB 110106-
70091410000134484684 ON MARCH 2, 2011, Page 2 of 3 March 7; 2011 Richard Kellogg Armstrong
Page 3 of 3"

PLEASE TAKE NOTICE that I, Richard Kellogg Armstrong, sentient moral being rescind my
signature Richard Kellogg Armstrong and the original "Case 1: 10-cr-00317-REB Document
161 Filed 03/10/11 USDC Colorado Page 1 of 3 March 7, 2011 10-cr-00317-REB NOTICE TO THE
COURT THAT MAGISTRATE JUDGE KATHLEEN M. TAFOYA REFUSED TO RECOGNIZE, AS A DEFENDANT, THE
EXTRAORDINARY LAWSUIT NO. GB 110106-70091410000134484684 ON MARCH 2, 2011, PAGE 2 of 3
March 7, 2011 Richard Kellogg Armstrong Page 3 of 3" including every copy bearing my
signature and date, for cause. I made a mistake creating, signing and presenting the
NOTICE TO THE COURT THAT EXTRAORDINARY LAWSULT NO. GB 110106-70091410000134484684 ON
MARCH 2, 2011. I repent of my sin.

I willingly, knowingly, voluntarily, intentionally and intelligently perform this act
and deed.

Liyy son, if you become surety for your friend, if you have shaken hands in a pledge for a stranger", ?"You
are snared by the words of your mouth; you are taken by the words of your mouth." 3"So do this, my son, and
geliver yourself; for you have come into the hand of your friend; go humble yourself; plead with your friend."
"Give no sleep to your eyes, nor slumber to your eyelids.” °"Deliver yourself like a gazelle from the hand of
the hunter, and like a bird from the hand of the fowler."

I RESERVE ALL OF MY RIGHTS WITH EXPLICIT RESERVATION AND WITHOUT PREJUDICE.

Sincerely

Richard Kellogg Ar
c/o 20413-298
Federal Correctional

F i L E D Institution - Lompoc

 

UNITED STATES DISTRICT COURT 3600 Guard Road
DENVER, COLORADO Lompoc, California
JAN 17 2014
JEFriscy P. COLWELL

CLERK

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Page 1 of 2

 
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Case 1:10-cr-00317-REB Document 161 Filed 03/10/11 USDC Colorado Page 1 of3

March 7, 2011

  
  
  
 

 

of the Court
COURT COLORADO

Gregory Langham, Cl
UNITED STATES DISTR

Richard Kellogg Armstr

20413-298

Federal Detention Cent ewood
9595 Quincy Avenue

Littleton, CO 80123

   
  
 
  

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NOTICE TO THE COURT RT MAGISTRATE JUDGE KATHLEEN M.‘SKAFOYA REFUSED TO RECOGNIZ FENDANT, THE
EXTRAORDINARY LAWSUIT®. GB 110106-70091410000134484684\0) RCH 2, 2011.
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NOTICE ate IS NOTICE TO AGENT AND NOTRE TO AGENT 1S NOTICE TO mGEN

REQUEST THAT THE COURR.RECOGNIZE
Haines v. Kerner, 405 0 Led 652, 92 S.Ct 594 Rel den 3§. 948, 30 Led 2d 819,92 S.C 96
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GREGORY C, LANGRIS
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COMES NOW: Richard Kellog&Armstrong, de jure, a native born
legal documents that have rescinded any and all adhesion contra
violates these documents ¢hat are secured by the Constitution 1
Warning and the UCC-1 fiaghe Washington Secretary of Stat

(See: www.getnotice. inf html as public notice). As a decla
an Article lil Court, nogan lor an Article IV Court, as ac!

ican who, by his declaration gf fiting of his UCC-1 and other
e United States Federal ation. Anyone who
e Bilt of Rights 1791 have a to the Caveat Miranda
well as numerous state, fede§alfand¥nternational agencies
ereign, the accused is subjett only}o be heard or tried in
ed by Judge Robert E. Blagkburn.

   
  
 
 

    

‘

This is to advise that the magistrate Judge, Kathleen M. Tafoy to recognize that she was feRdant listed in the
Extraordinary lawsuit No. Gi 110406-70091410000134484684, i id, the accused is a Plaintiff, at\a Sup led Indictment
hearing March 2, 2011. Ma Judge Tafoya stated on the recohd that she was not aware of the ect lawsuit served on the
National Tenth Tribunal Co uary 28, 2011, and refused to acgépt, or look at, certain pages from wsuit specifically
listing her name as a Defen e court was duly notified b de to the Court dated Februal 011, addressed to the
Clerk of the Court, that | aintiff in that lawsuit.

 
  
  
 

any further proceedings agai e accused due to conflict of interast. She chose to ignore the accu tements and went
ahead with the reading of all additional complaints against tha accused. When she completed she reading of the alleged
charges, she asked the accused how he plead to the charges and the\ddcused answered that he invok e lawsuit, nothing more.
She then proceeded to plea t Guilty” for the accused and end
was in violation of her oath af office as well as being in violation o
thereof, which states:

(a) Any Justice, Judge, ofMagistrate Judge of the United

(b) shall...disquatify hi [herself] in these following ci

(5) Where he/[she].. (iis. to the proceeding,”

NY
The accused advised Magi udge Tafoya that the accused mek ee in that lawsuit and thal be must recuse herself from

     
  
 
 
  

Violation of oath of office isttreas

In addition to the above violation, Magistrate Judge Tafoya allowed the Assistant U.S. Attorney, Kenneth M. Harmon, to state his
opinion as to the validity of the subject lawsuit when he had no authority to comment on it in court, and on the record, as to his
opinion of the lawsuit, without striking his comment, the accused considers the Magistrate Judge committed an additional violation
of her office. "Rules made for the government, not for the people, are meant to regulate governmental proceedings, not to
manipulate justice. When a rule is used in a way or for a purpose for which it was not intended, or when it otherwise brings about
Case 1:10-cr-00317-REB Document 735-18 Filed 01/17/14 USDC Colorado Page 3 of 4

Case 1:10-cr-00317-REB Document 161 Filed 03/10/11 USDC Colorado Page 2 of 3

the effect that would be required by statute or would be the resutt ot proceedings at the ena oF tat or viowaces LUNDSEILULIUT IAL
rights of citizens, it ceases to be a rule and becomes an abuse of process and a Contempt of Constitution.” 405,4, 5-5 Stat. CitC.,
USFCA, (1999).

Therefore, in consideration of the above, any statements or orders made by Magistrate Judge Tafoya at that hearing are considered
to be null and void by operation of law.

This document is not intended to intimidate, threaten or harass but is my remedy in law.

March 7, 2011 '
Signed: Lasdbasit dle, a OR
Richard Kellogg ‘on
W Sovereign
Executor of the Estate
cc:
Colorado Supreme Co
Tenth Circuit Court als -

Administrative Office .5. Courts

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